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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:19-cv-01855

  REBECCA WILLIAMS, an individual,

         Plaintiff,

  v.

  UNITED STATES SPACE FOUNDATION, a Colorado nonprofit corporation,

        Defendant.
  ______________________________________________________________________________

                         COMPLAINT AND JURY DEMAND
  ______________________________________________________________________________

         Plaintiff Rebecca Williams (“Ms. Williams”), through counsel, Lewis Kuhn Swan PC,

  submits her Complaint and Jury Demand as follows:

                                         INTRODUCTION

         1.      This proceeding seeks damages to redress violations of Ms. Williams’s rights under

  the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201 et seq., and Colorado state law.

                                             PARTIES

         2.      Ms. Williams is an individual domiciled in Colorado.

         3.      Defendant United States Space Foundation (“Space Foundation”) is a nonprofit

  corporation organized under the law of the State of Colorado with its headquarters and principal

  place of business in Colorado Springs, Colorado.

                                  JURISDICTION AND VENUE

         4.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331 as this

  action is brought under the FLSA.
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         5.      This Court has supplemental jurisdiction for the claim asserted under Colorado state

  law in that the state law claim is part of the same case and controversy as the FLSA claim, the

  federal and state claims derive from a common nucleus of operative facts, the state claim will not

  substantially dominate over the FLSA claim, and exercising supplemental jurisdiction would be in

  the interests of judicial economy, convenience, fairness, and comity.

         6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the unlawful

  conduct complained of herein arose and occurred in the District of Colorado.

                                   GENERAL ALLEGATIONS

         7.      Space Foundation “is a global, nonprofit advocate for the advancement of space-

  related endeavors to inspire, educate, connect, and advocate for the global space community.” See

  https://www.spacefoundation.org/what-we-do (last accessed June 26, 2019).

         8.      Ms. Williams began working for Space Foundation in or around 2012. In or around

  November 2014, Ms. Williams changed positions within Space Foundation and became the “Space

  Awareness Program Coordinator.”

         9.      In this position, Ms. Williams was paid approximately $50,000 annually. Space

  Foundation classified Ms. Williams as exempt from the overtime requirements of federal and

  Colorado state law.

         10.     Ms. Williams maintained her position until her termination in or around June 2019.

         11.     Job title notwithstanding, an analysis of Ms. Williams’s actual job duties makes

  plain she was non-exempt from the overtime and minimum wage requirements of the FLSA and

  Colorado state law.

         12.     Among other things, Ms. Williams did not exercise discretion and independent

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  judgment with respect to matters of significance; did not perform work directly related to the

  management or general business operations of Space Foundation; did not have authority to approve

  spending; and did not supervise any other employee. Rather, she was tasked with low-level job

  duties and was, based on her job duties, affirmatively denied the title “manager.”

         13.     As a non-exempt employee, Ms. Williams was entitled to receive overtime

  compensation at a rate of not less than one-and-one-half her regular rate of pay for all hours worked

  in excess of forty (40) hours in a workweek. She was also entitled to minimum wages for all other

  hours: $7.25 federally and, as set out below, $10.20 under applicable state law.

         14.     Ms. Williams frequently worked in excess of forty (40) hours per workweek and

  often worked more than fifty (50) hours per workweek. For example, during weeks in which the

  annual Space Symposium was held, Ms. Williams worked approximately seventy (70) hours per

  workweek.

         15.     Ms. Williams did not receive the full overtime and minimum wage compensation

  to which she was entitled.

                                   FIRST CLAIM FOR RELIEF
                                     Fair Labor Standards Act
                                      (29 U.S.C. §§ 201 et seq.)

         16.     Ms. Williams incorporates by reference all preceding paragraphs of this Complaint.

         17.     At all times relevant to this Complaint, Space Foundation was an employer within

  the meaning of the FLSA.

         18.     At all times relevant to this Complaint, Space Foundation employed Ms. Williams

  within the meaning of the FLSA.

         19.     Ms. Williams worked in excess of forty (40) hours per workweek during her


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  employment and was thus entitled to overtime compensation at a rate of not less than one-and-

  one-half her regular rates of pay.

         20.     Ms. Williams did not receive all minimum wages and overtime compensation to

  which she was entitled.

         21.     Space Foundation’s violations of the FLSA were not in good faith because, among

  other things, it was well aware of its legal obligation to pay minimum wage and overtime

  compensation because it employs individuals to whom it pays overtime premiums.

         22.     Space Foundation failed to make, keep, and preserve records with respect to Ms.

  Williams sufficient to determine the wages, hours, and other conditions and practices of her

  employment in violation of the FLSA.

         23.     Space Foundation’s pay violations were not in good faith, and, thus, Ms. Williams

  is entitled to liquidated damages.

         24.     The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

  pursuant to 29 U.S.C. § 255(a).

         25.     Due to Space Foundation’s FLSA violations, Ms. Williams is entitled to recover

  from Space Foundation unpaid minimum wages and overtime compensation, actual and liquidated

  damages, including Space Foundation’s share of FICA, FUTA, Colorado unemployment

  insurance, and any other required employment taxes, reasonable attorneys’ fees, and costs and

  disbursements of this action pursuant to 29 U.S.C. § 216(b) in an amount to be proven at trial.

                              SECOND CLAIM FOR RELIEF
                 Colorado Minimum Wage Order/Colorado Wage Payment Act
                                   (7 CCR § 1103-1)

         26.     Ms. Williams incorporates by reference all preceding paragraphs of this Complaint.


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          27.        At all times relevant to this Complaint, Space Foundation employed Ms. Williams

  within the meaning of the Colorado Minimum Wage Order, set forth at 7 CCR § 1103-1, which is

  applicable to Space Foundation.

          28.        Space Foundation willfully violated the Colorado Minimum Wage Order by failing

  to pay Ms. Williams at a rate not less than one-and-one-half her regular rates of pay for each hour

  she worked in excess of forty (40) per workweek and/or twelve (12) in any one workday.

          29.        Space Foundation also violated the Colorado Minimum Wage Order by failing to

  pay Ms. Williams minimum wages to which she was entitled.

          30.        Due to Space Foundation’s Colorado Minimum Wage Order violations, Ms.

  Williams is entitled to recover from Space Foundation unpaid overtime compensation, actual

  damages, including Space Foundation’s share of FICA, FUTA, Colorado unemployment

  insurance, and any other required employment taxes, reasonable attorneys’ fees, and costs and

  disbursements of this action pursuant to the Colorado Minimum Wage Order in an amount to be

  proven at trial.

                                         PRAYER FOR RELIEF

          WHEREFORE, Ms. Williams prays for the following relief:

          1.         Judgment in her favor on her claims for relief;

          2.         Nominal, pecuniary, actual, and compensatory damages;

          3.         Liquidated and/or punitive damages as a result of Space Foundation’s willful failure

  to pay overtime compensation;

          4.         Liquidated and/or punitive damages as a result of Space Foundation’s willful failure

  to keep and maintain accurate pay records.


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         5.       Costs and expenses of this action together with attorneys’ and experts’ fees;

         6.       Damages representing Space Foundation’s share of FICA, FUTA, Colorado

  unemployment insurance, and any and all other required employment taxes;

         7.       Pre- and post-judgment interest at the maximum rate permitted by applicable law;

         8.       A declaratory judgment that Space Foundation’s conduct complained of herein is

  unlawful; and

         9.       Any and all such other and further legal and equitable relief as this Court deems

  just and proper.

                                   DEMAND FOR JURY TRIAL

         Ms. Williams hereby demands a jury trial on all issues to which she has a right to jury trial.

         Respectfully submitted this 26th day of June, 2019.

                                                 /s/ Andrew E. Swan
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